          Case 2:19-cv-14666-SM-JVM Document 106 Filed 03/31/20 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

    E.N. BISSO & SON, INC.,                                         CIVIL DOCKET
         Plaintiff

    VERSUS                                                          NO. 19-14666
                                                                        c/w 20-525

    DONNA J. BOUCHARD M/V, ET AL.,                                  SECTION: “E” (1)
       Defendant


Applies to: 19-14666


                                           ORDER

          Before the Court is a Joint Motion to Dismiss filed by Plaintiff E.N. Bisso & Son,

Inc. (“E.N. Bisso”) and Defendants, Tug Donna J. Bouchard Corp., B. No. 272 Corp., and

Bouchard Transportation Co., Inc. 1 E.N. Bisso and Defendants ask the Court to (1)

dismiss all of E.N Bisso’s claims and causes of action, with prejudice, each party to bear

its own costs, and, (2) vacate and dismiss the warrants of arrest and writs of attachment

of the M/V DONNA J. BOUCHARD and Barge B. No. 272, in rem, issued in this matter at

E.N. Bisso’s request on December18, 2019. 2 The Court has been informed that certain

intervenor plaintiffs wish to file oppositions to the Joint Motion to Dismiss.

          Accordingly;

          IT IS ORDERED that the Joint Motion to Dismiss will be considered on an

expedited basis. Responses/oppositions to the Joint Motion to Dismiss are due no later

than Thursday, April 2, 2020 at 12:00 p.m. Replies, if any, are due no later than

Friday, April 3, 2020 at 12:00 p.m. The Court will discuss the Joint Motion to



1   R. Doc. 105.
2   Id.

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         Case 2:19-cv-14666-SM-JVM Document 106 Filed 03/31/20 Page 2 of 2



Dismiss with the parties at the telephone status conference scheduled in this matter for

Monday, April 6, 2020 at 10:00 a.m. 3


          New Orleans, Louisiana, this 31st day of March, 2020.


                                        ______________________ _________
                                                  SUSIE MORGAN
                                          UNITED STATES DISTRICT JUDGE




3   R. Doc. 99.

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